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                          Exhibit 117
Re: Most funny staff in my life :)
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                       CONFIDENTIAL INFORMATION PURSUANT TO PROTECTIVE ORDER
          Subject: Re: Most funny staﬀ in my life :)
          From: Alexey Gubarev <alex@xbt.com> boundary="Apple‐
          Mail=_B7ADE160‐8EE4‐4409‐9C71‐2D34EC7E61FB"
          Date: 1/11/2017 2:45 AM
          To: "Dolan, Charles" <charles.dolan@kglobal.com>

          Yes, I am ready for law court agains person who is write this stupid fake report.

          It is 100% because I made report for Bloomberg about fake news that Trump
          servers have connecƟons to Alfa bank servers.




             On Jan 11, 2017, at 12:42 PM, Dolan, Charles <charles.dolan@kglobal.com> wrote:

             I’m hoping that this is exposed as fake news. I may be wrong but I have doubts about the authenƟcity.

             From: Alexey Gubarev <alex@xbt.com>
             Date: Wednesday, January 11, 2017 at 5:40 AM
             To: Charles Dolan <charles.dolan@kglobal.com>
             Cc: Nick Dvas <dvas@servers.com>
             Subject: Re: Most funny staﬀ in my life :)

             Hope they will not put us me in sanctions list, which they are working now based on fake report.

                     On Jan 11, 2017, at 12:37 PM, Dolan, Charles <charles.dolan@kglobal.com> wrote:

                     This is one of those Ɵmes where I try to keep you out of the news ;‐)



                     From: Alexey Gubarev <alex@xbt.com>
                     Date: Wednesday, January 11, 2017 at 5:36 AM
                     To: Charles Dolan <charles.dolan@kglobal.com>
                     Cc: Nick Dvas <dvas@servers.com>
                     Subject: Re: Most funny staﬀ in my life :)

                     Dolan,

                     I urgently need to a cap with sign to support Trump and photo with him :)))
                     It will be looks amazing on my facebook and in future posts :) (joking)

                     Alex.



                             On Jan 11, 2017, at 12:36 PM, Dolan, Charles <charles.dolan@kglobal.com>
                                                                                                            P-P000021
1 of 3                                                                                                               11/30/2017 4:53 PM
Re: Most funny staff in my life :)
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                       wrote:

                             Yeah – and it will have some legs with the sex allegaƟons. I will check with some folks
                             in the intel world to see if they know who produced this.

                             From: Nick Dvas <dvas@servers.com>
                             Date: Wednesday, January 11, 2017 at 5:33 AM
                             To: Charles Dolan <charles.dolan@kglobal.com>
                             Cc: Alexey Gubarev <alex@xbt.com>
                             Subject: Re: Most funny staﬀ in my life :)

                             It is.
                             But it has over 2 million views at Buzzfeed
                             https://www.buzzfeed.com/kenbensinger/these-reports-allege-trump-has-deep-
                             ties-to-russia?utm_term=.tmOqloQWY#.gmR0gJNMK

                                     On Jan11 2017, at 12:32, Dolan, Charles
                                     <charles.dolan@kglobal.com> wrote:

                                     Let me check to see where this report comes from. It looks like fake
                                     news.

                                     From: Alexey Gubarev <alex@xbt.com>
                                     Date: Wednesday, January 11, 2017 at 3:50 AM
                                     To: Charles Dolan <charles.dolan@kglobal.com>
                                     Cc: Nick Dvas <dvas@servers.com>
                                     Subject: Most funny staﬀ in my life :)

                                     Hello,

                                     One friend send me this report. Looks like due to my comment in Bloomberg,
                                     they use this connection and try to put my name there.

                                     I decide to start a legal case again this company btw., need to found out who is
                                     make this stupid report.

                                     Let me know what we can do on that.

                                     Alex.



                                     https://assets.documentcloud.org/documents/3259984/Trump-Intelligence-
                                     Allegations.pdf




                                     <image001.png>
                                                                                                                        P-P000022
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Re: Most funny staff in my life :)
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                                                                                  P-P000023
3 of 3                                                                                 11/30/2017 4:53 PM
